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                  Brian R. Strange                  David A. Holop                     Jennifer Lin




Privacy: Is it legal “tracking” or an illegal wiretap?
Sorting out whether the federal Wiretap Act applies
can be a highly technical endeavor
     Online and mobile communication          providers, and the litigation is still play-    relief available to wronged consumers
technology is an everyday part of the         ing out in federal court. (In re iPhone         under federal law is the Electronic
lives of most Americans today: a 2010         Application Litig (N.D. Cal. 2011) No. 11-      Communications Protection Act of 1986
survey by the Pew Internet and American       MD-02250-LHK.) Another example came             (“ECPA”), which includes the Wiretap Act
Life Project found that 82 percent of         to light in late 2011, when reports sur-        and the Stored Communications Act
Americans use cell phones, and a study        faced that a tracking software called           (“SCA”). While these laws have not always
by the World Bank similarly estimated         Carrier IQ was embedded in millions of          kept up with the pace of technology, they
that almost 80 percent of Americans use       cell phones. Litigation is now proceeding       still provide the opportunity for con-
the Internet. These numbers will only         against the maker of the software and           sumers to find relief when their privacy
continue to grow in the years to come as      phone manufacturers. (In re Carrier IQ,         has been violated.
technology becomes even cheaper and           Inc., Consumer Privacy Litig. (N.D. Cal.
more available. While these technologies      2012) MDL No. 2330.)                            The Wiretap Act
bring many benefits to users, the rise in          Apart from users’ physical locations,           The ECPA is the main source of regu-
the prevalence of online and mobile           tech giants such as Google and Facebook,        lation of providers of wireless or electronic
technology also brings with it increasing     as well as many smaller Internet compa-         communications services. Title I of the
concerns about the privacy of users and       nies and start-ups, are interested in col-      ECPA is the Federal Wiretap Act, and Title
their data. It seems every month a new        lecting much more data on users’ online         II of the ECPA is the SCA. Both statutes
privacy issue arises as technology compa-     activities: their demographic informa-          establish privacy protections for con-
nies push the limits of data tracking and     tion, their interests, whom they commu-         sumers against the government and pri-
collection, and each new issue brings         nicate with, and so on – anything you can       vate parties. Consumers who are interest-
along with it a myriad of important legal     imagine. This, too, while not necessarily       ed in protecting the privacy of their com-
privacy issues. For example, when can a       a new practice (e.g., tracking cookies have     munications are likely just as worried
cell phone company legally track the          been around for many years) has been            about online or mobile companies turning
physical movements of its users, or to        the subject of recent controversy. For          over user data to the government as they
what degree can an Internet company           example, earlier this year, a privacy           are about this information getting into the
monitor the online activities of its users?   researcher found that Google (and three         hands of third parties, such as advertisers.
These questions and many more like it         other online advertising companies) cir-        The Wiretap Act focuses on the interception
contribute to a burgeoning area of the        cumvented browser settings that were in         of consumers’ electronic or wireless com-
law that lawmakers have struggled to          place to block tracking by third-party          munications, while the SCA covers
keep up with, leaving consumers to seek       cookies. Apple’s Safari browser was             retrieval of that information from storage
remedies under existing laws written for      designed to prevent third-party cookies         without the consumers’ consent.
older technologies.                           by default, but according to the                     The Wiretap Act gives consumers a
     These privacy issues have become         researcher, Google and the other adver-         private right of action against anyone
much more salient in recent years, as         tising companies made it possible for the       who “intentionally intercepts, endeavors
media reports of “tracking” have became       cookies to still load and track users’ Web      to intercept, or procures any other person
more frequent. An example of a contro-        browsing activities. In a similar vein,         to intercept or endeavor to intercept, any
versial practice was brought to light in      Facebook also faced a class-action lawsuit      wire, oral, or electronic communication.”
2010, when it was revealed that Apple         over allegations that it transmitted user       (18 U.S.C. § 2511(1)(a).) At its core, all
had been collecting and storing users’        information to third-party advertisers          that is required is that a communication is
geographical locations in their iPhones       without the users’ consent. (In re Facebook     intercepted. The law does not require
and iPads. This created a large security      Privacy Litig. (N.D. Cal. 2010) No. C 10-       that the interceptor improperly use the
issue because this user information was       02389 JW.)                                      communication, share it or do anything
available to anyone who had remote                 With all these privacy threats, con-       else with it. It is important, however, to
access to the user’s iPhone or iPad. A        sumers continue to look to the courts to        understand how courts have parsed the
number of class-action lawsuits were filed    seek remedy when their personal privacy         language of the law to limit its reach.
against Apple and other mobile service        has been breached online. One source of             See Strange, Holop & Lin, Next Page
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     Courts have generally interpreted            disclosure to third-party advertisers that       to anyone but the person or entity who is
“interception” as referring only to com-          they visited a particular Web site at a par-     the intended recipient of that communi-
munications that were acquired while in           ticular time or the fact that they interact-     cation. (18 U.S.C. § 2511(3)(a).) There is
transit, not those acquired while in stor-        ed with a third-party via text message or        an exception for situations in which the
age. (See Konop v. Hawaiian Airlines, Inc.        e-mail – this information may be con-            recipient consents to the divulgence. (18
(9th Cir. 2002) 302 F.3d 868, 878 [an             strued as being merely “transactional,”          U.S.C. § 2511(3)(b)(ii).) The plaintiffs in
interception can occur only while the             though the case law on this issue is still       In re Facebook Privacy Litigation attempted
electronic message is being transmitted];         being developed. Where the tracking              to base their Wiretap Act claim on this
Fraser v. Nationwide Mut. Ins. Co. (E.D. Pa.      party actually did intercept the “con-           premise. The court found that the
2001) 135 F. Supp. 2d 623, 635 [retrieval         tents” of online or mobile communica-            plaintiffs had alleged facts sufficient to
of e-mail message from intermediate or            tions or activity, plaintiffs would more         establish that they had suffered the injury
back-up storage while message is in the           likely be successful in such actions.            required for standing under Article III of
course of transmission is “interception”               Further, the Wiretap Act also pro-          the U.S. Constitution on this claim, but
under Federal Wiretap Act; retrieval of           vides that defendants accused of inter-          nevertheless dismissed the claim based
message from post-transmission storage            ception are protected from liability when        on the particular facts at issue.
is not]; and U.S. v. Steiger (11th Cir.           one of the parties to the communication               The court found that the consumer,
2003) 318 F.3d 1039, 1049 [e-mail can             has given prior consent to the intercep-         when he or she clicked on a third-party
only be intercepted during “flight”].)            tion. (18 U.S.C. § 2511(2)(c-d).) As an          advertising banner on Facebook, was
Other courts, however, have allowed for a         example, courts have found consent               essentially sending a communication to
broader reading of the term “intercep-            when plaintiffs continued using an               either the advertiser or Facebook. There
tion,” holding it includes the acquisition        Internet service provider’s (“ISP”) servic-      were two interpretations of this “commu-
of messages that “reside briefly in the           es after being informed in the user              nication” of clicking the ad under the
memory of ” devices transmitting the              agreement of the possibility that data           Wiretap Act: either Facebook was the
messages. (See, e.g., United States v.            regarding their usage would be shared            intended recipient and was therefore
Szymuszkiewicz, (7th Cir. 2010) 622 F.3d          with unnamed third parties. (Kirch v.            immune from liability, or, if the third-
701, 706.) Thus, for a consumer to have           Embarq Management Co. (D. Kan. Aug 19,           party advertiser was considered the recip-
a viable claim under the Wiretap Act, he          2011) 2011 WL 3651359, at *7-9.) Courts          ient, Facebook could not be held liable
or she may have to show that the elec-            have stated that “Congress intended the          for divulging plaintiffs’ information to
tronic or wireless services provider inter-       consent requirement to be construed              that intended recipient. ((N.D. Cal. 2011)
cepted (or tried to intercept) his or her         broadly,” but “consent should not casual-        791 F. Supp. 2d 705, 712-13.) Again how-
communication while it was in transit.            ly be inferred.” (Griggs-Ryan v. Smith (1st      ever, under different circumstances where
Proving this can become quite technical           Cir. 1990) 904 F.2d 112, 116-17.) Thus,          the user has not taken an action like
and fact-dependent, and may limit the             consumers who have given consent in              clicking on an advertisement (e.g., if the
law’s application.                                any agreed-to terms of service, or even          user is sending a message to a contact),
     In addition, while plaintiffs do not         implied consent, may be barred from              the Web site or third party would not be
have to show that the interceptor took            bringing these claims as well, but it must       the intended recipient of that type of
any bad actions with regard to the infor-         be actual rather than constructive con-          communication.
mation, they may have to show that the            sent. (See United States v. Footman (1st Cir.         There have been a number of cases
defendant electronic or wireless services         2000) 215 F.3d 145, 155.) Where there is         where plaintiffs have been able to make
provider had access to the contents of the        insufficient evidence of consent, the            cognizable Wiretap Act claims based on
communication. Courts have held that              defense will not apply. (See, e.g., In re        the invasion of their privacy and unau-
“transactional information” about the             Pharmatrak, Inc. (1st Cir. 2003) 329 F.3d        thorized use of their personal data. For
communication – the fact that it was              9, 20.) While some actions by consumers          example, in U.S. v. Councilman (1st Cir.
made and between whom – is not enough             may indicate consent, when a tracking            2005) 418 F.3d 67, 80, the First Circuit
to give rise to an “interception.” (U.S. v.       company exceeds any terms of service or          held that providers of an online rare
Lazu-Rivera (D.P.R. 2005) 363 F. Supp.            covertly tracks without any action by the        books listing service which gave its sub-
2d 30, 38.) For example, “recorded                user that would indicate consent, consent        scribers e-mail addresses and then
phone numbers in a cell phone’s memo-             should not be found to bar a Wiretap Act         stored copies of all incoming e-mails
ry are not the contents of a communica-           claim.                                           from Amazon.com, a competitor, could
tion,” but conversations or text messages              Another option for a plaintiff who          be liable under the Wiretap Act.
are such “contents.” (U.S. v. Parada (D.          seeks relief under the Wiretap Act lies in       Likewise, the court in Elk Grove
Kan. 2003) 289 F. Supp. 2d 1291, 1304.)           its provision that prohibits electronic          Answering Service v. Hoggatt (E.D. Cal.
This requirement presents a potential             communication service providers from             Nov. 15, 2010) 2010 WL 4723720, at *2,
hurdle to consumers whose claims arise            knowingly divulging the contents of any          held that the plaintiff, who worked at a
from the electronic service providers’            communication while it is in transmission           See Strange, Holop & Lin, Next Page
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telephone company and alleged that her           suffered and any profits that defendants         but an important one for applying the
co-workers accessed the company’s serv-          made as a result of the violation. The           provisions of the SCA and determining
er to download her personal calls to             statute states that a plaintiff shall, in no     whether plaintiffs will have a remedy
third parties, had sufficiently pled a           case, be entitled to less than $1,000, and       under the law.
Wiretap Act claim. These courts’ inter-          punitive damages may be available if the               In In re Jetblue Airways Corp. Privacy
pretations of the Wiretap Act show that          violation is willful or intentional. (18         Litig. (E.D.N.Y. 2005) 379 F. Supp. 2d
claims can go forward under the right            U.S.C. § 2707(c).) In order to bring an          299, 307), the district court held that an
set of facts.                                    SCA claim, a plaintiff need not have a           airline company that operates a Web site
     While there are some barriers to            contractual agreement with the ECS or            that receives and transmits data from and
claims under the Wiretap Act, plaintiffs         RCS provider. (See Quon v. Arch Wireless         to its customers “is not [a] provider of
can succeed if they properly allege facts        Operating Co. (C.D. Cal. 2004) 309 F.            [an] electronic communication service”
showing an interception of the contents          Supp. 2d 1204, 1209.)                            within the meaning of the ECPA. The
of their communications without consent.              Whether an entity is defined as an          airline is better characterized as a
If a plaintiff is able to prevail on a           ECS or an RCS has consequences for its           “provider of airline services” and a “con-
Wiretap Act claim, he or she may be enti-        right to disclose information. The differ-       sumer of electronic communication”
tled to equitable or declaratory relief,         ence between an ECS and RCS is that an           rather than an ECS provider. Its Web site
damages including potentially punitive           ECS provides a service that enables users        is analogous to a telephone that enables
damages in appropriate cases, as well as         to send or receive wire or electronic com-       the airline to communicate with its cus-
attorney’s fees and litigation costs. (18        munications. (18 U.S.C. § 2510(15).) An          tomers. Just as mere operation of the
U.S.C. § 2520(b).) A court computing             RCS, on the other hand, provides only            telephone would not transform the com-
damages may assess the greater of the            computer storage and processing servic-          pany into a telephone services provider,
sum of the plaintiff ’s actual damages and       es. (18 U.S.C. § 2711(2).) While RCSs are        operation of the Web site does not trans-
any profits made by the defendants, or           permitted to release the contents of a           form the company into an ECS provider
statutory damages of “the greater of $100        communication with the lawful consent of         within the meaning of the SCA. At the
a day for each day of the violation or           a subscriber, an ECS may release the con-        same time, Web sites certainly can be
$10,000.” (18 U.S.C. § 2520(c)(2).) These        tents of a communication only with the           ECSs. In Kaufman v. Nest Seekers, LLC
may be substantial damages in a case of          lawful consent of the originator of the          (S.D.N.Y. Sept. 26, 2006) 2006 WL
widespread tracking.                             message or one of its intended recipients.       2807177, at *6, a different federal district
                                                 (18 U.S.C. § 2702(b)(3) (emphasis                court held that “[a]n on-line business
Stored Communications Act                        added).)                                         which provides its customers, as part of its
     The other important title under the              Courts have held that the SCA               commercial offerings, the means by which
ECPA for consumers whose privacy has             applies to telephone companies, Internet         the customers may engage in private elec-
been breached online is the Stored               or e-mail-service providers, and bulletin        tronic communications with third-parties
Communications Act. The SCA states               board services. (Becker v. Toca (E.D. La.        may constitute a facility through which
that an electronic communication service         Sept. 26, 2008) 2008 WL 4443050, at              electronic communication service is pro-
(“ECS”) provider “shall not knowingly            *4.) Courts have also held that ISPs that        vided.” Therefore, if a Web site or other
divulge to any person or entity the con-         store e-mails on their servers for back-up       online business, such as the provider of a
tents of a communication while in elec-          protection are ECSs. (Theofel v. Farey-Jones     messaging or social networking applica-
tronic storage by that service.” (18 U.S.C.      (9th Cir. 2004) 359 F.3d 1066, 1070.)            tion, provides the means of sending “elec-
§ 2702(a)(1) (emphasis added).) The SCA          Social networking sites that provide pri-        tronic communications,” the company
also prohibits remote computing service          vate messaging and e-mail services have          may be found to be an ECS.
(“RCS”) providers from knowingly                 also been found to be ECSs under the                   Similar to the Wiretap Act, the SCA’s
divulging to any person or entity “the           SCA. (Crispin v. Christian Audigier, Inc.        reach is limited by the consent defense.
contents of any communication that are           (C.D. Cal. 2010) 717 F. Supp. 2d 965,            The SCA provides that liability can be
carried or maintained on that service...on       982.) An example of an RCS would be              excused “with the lawful consent of the
behalf of...a subscriber or customer of          the operator of a “computer bulletin             originator or an addressee or intended
such service.” (18 U.S.C. § 2702(a)(2).)         board.” (Steve Jackson Games, Inc. v. U.S.       recipient of such communication, or the
     Similar to claims under the Wiretap         Secret Service (W.D. Tex. 1993) 816 F.           subscriber in the case of remote comput-
Act, a plaintiff who prevails on an SCA          Supp. 432, 443.) Also, when entities such        ing service.” (18 U.S.C. § 2702(b)(3).)
claim may be entitled to equitable or            as You Tube store videos that users mark         However, as under the Wiretap Act, to
declaratory relief, damages, attorney’s          as “private,” they are acting as “storage        the extent the information is obtained
fees and litigation costs. (18 U.S.C. §          entities” and are considered RCSs.               without any consent by the user, plaintiffs
2707(b).) More specifically, in calculating      (Crispin, 717 F. Supp. 2d at 990.) Sorting       will be able to bring their claims under
damages, the court should assess the             out whether a technology is an ECS or an         the SCA.
sum of actual damages that the plaintiff         RCS can be a highly technical endeavor,             See Strange, Holop & Lin, Next Page
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Settlements, other causes of action               limitations, which are beyond the scope          browser), have already created “Do Not
                                                  of this article. However, these causes of        Track” options for users. In addition, the
      While some issues exist regarding           action provide additional avenues to hold        FTC has recently called for legislation
modern claims under the ECPA, recently            electronic and wireless communications           regulating “data brokers,” companies that
plaintiffs have successfully settled a num-       providers accountable for deceptive trade        buy and sell personal data to help build
ber of cases involving Wiretap Act and            practices and give consumers additional          online profiles of consumers.
SCA claims. For example, in 2011,                 remedies when they have been harmed                   New legislation and regulation may
Google agreed to an $8.5 million settle-          by the improper tracking and disclosure          provide more protection to consumers,
ment relating to the launch of its Google         of their sensitive personal information.         but they should be accompanied by
Buzz service, which revealed information                On the government side, two                updates to the ECPA or create other
about the names of users’ e-mail contacts         important agencies, the Federal Trade            private rights of action that will better
if users activated Buzz without changing          Commission (“FTC”) and the Federal               protect consumers against the threats
the defaults. The parties also reached set-       Communications Commission (“FCC”),               they face today. For example, a bill was
tlements in lawsuits stemming from the            are responsible for protecting consumer          introduced in California in 2011 that
alleged use of Flash cookies by online            privacy. These agencies have also been           would not only give consumers an opt-
marketing firms Quantcast, Clearspring,           involved in actions against technology           out option, but also a private right of
Specific Media, and Say Media’s                   companies accused of breaching con-              action against businesses that violate the
VideoEgg, which tracked users’ online             sumer privacy recently, such as in               law. Entities that engage in tracking
activities. Facebook similarly settled a suit     enforcement actions against Google               would have to disclose the purpose of the
over its Beacon program which tracked             regarding its Buzz service and actions           tracking (i.e., the intended use of the
user activity and shared it with third par-       against online advertisers, such as              information) and how they track. (S.B.
ties. These settlements show that con-            Chitika, which collected and sold track-         761 (Cal. 2011).) While the bill has not
sumers can reach favorable resolutions            ing information about users.                     yet been voted on, it is a sign that legisla-
on these types of tracking claims.                      Consumers and consumer advocates           tures are moving in the right direction.
      In addition, consumers can pursue           have also called on legislatures to update       Until more protective legislation is enact-
other causes of action in these tracking          the laws to protect consumers further            ed, consumers can keep fighting under
cases under both federal and state laws,          against the current threats they face. In        the ECPA and other existing laws to seek
such as the federal Computer Fraud and            recent years, Congress and state legisla-        the remedies they deserve when their
Abuse Act (18 U.S.C. § 1030), state unfair        tures have introduced “Do-Not-Track”             rights to privacy have been breached
competition statutes (e.g., California’s          legislation, though none has been enact-         online and on their mobile devices.
Unfair Competition Law (“UCL”), Cal.              ed into law to-date. The proposed federal
Bus. & Prof. Code § 17200, et seq.), and          law would require the FTC, which                       Brian R. Strange, the founding partner
common law claims such as trespass to             presently does not have the authority to         of Strange & Carpenter in Los Angeles,
chattels, or conversion. (See, e.g.,              require entities to provide an opt-out pro-      CA, has focused his practice for over 20 years
CompuServe, Inc. v. Cyber Promotions, Inc.        cedure, to introduce one for consumers           on class action and complex business litiga-
(S.D. Ohio 1997) 962 F. Supp. 1015,               who do not want their online activities to       tion, with a specialty in Internet privacy and
1023.) Other statutes requiring Web site          be tracked. Specifically, consumers who          antitrust class actions. He is currently serving
operators to post their privacy policies          want to prohibit the collection and use of       on the plaintiffs’ steering committee in In re
(see, e.g., Cal. Bus. & Prof. Code § 22575)       information such as the Web sites they           Sony Gaming Networks and Customer
or that forbid knowingly damaging or              visited, telephone numbers, and their            Data Security Breach Litigation. David
destroying computer programs (see, e.g.,          location (GPS-type tracking) would be            A. Holop, an associate at Strange &
Cal. Pen. Code § 502(c)(4)) may also be           able to do so under this legislation. Some       Carpenter, specializes in class action and
useful to consumers. Each of these types          Internet companies, such as Yahoo and            Internet privacy litigation. Jennifer Lin is a
of action will have its own issues and            Mozilla (creator of the popular Firefox          law clerk at Strange & Carpenter.
